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  RECEIVED                    IN THE UNITED STATES DISTRICT COURT
( () SEP 2 2 2022          FOR THE EASTERN DISTRICT OF NORTH CA~OLINA
~~,JR.,CLERK
 US DISTRICT COURT, EDNC            '£a.5-k,t~t _           DIVISION




         _N~~-~-~-fuL~----'
         (Enter above the full name
         of the Plaintiff[s] in this
         action).
                                                               Case No.   Lf: ;J. 1--_e II,,1)/J 11s--!J
                      vs.                                                 (To be assigned
                                                                           by the Clerk of

         ~Ji?'t';t~:;;}.;~~
         ,Jimlc,._, - ~ 1:S ----------           __ l
                                                                           District Court)



                      .                     .       )
         Nt"axrc.:: ~~ ----------
             -i1--     ,~
         -W-l-~~L~-~-~---~------>
         (Enter above the full name of
        ALL Defendant[s) in this action.
        Fed.R.Civ.P.l0(a) requires that
        the caption of the complaint
        include the names of all the
        parties. Merely listing one
        party and "et al." is insufficient.
        Please attach additional sheets if
        necessary).

                                                 COMPLAINT


        1.    Plaintiff~ resides at __          J_~Q_L_f; __LO_ili_~~-A-p\- lB"3 _
          _.Qic.~v,_lt ¾-hl~.&']_~_5.8. __________________________ _

        2.                      '~~-1:-_llio.l.\.0,.Q.,__~,J..>XS.Lb}------
              Defendant(s}name(s}

        _}1p~-\/a..(S ~ -+=>1 ~ -6\1°'~-~Jl~~Q\l~--------
           J~rCJL, :--T        _ ,                           \
        -------- \ ---- ~--MJ~a. _______________________________________ _
        -- M~4l~dQK,S_____________________________________ _
             'N ~ \l\OL.-~      C:7<tJ_.,               1




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        Location of principal office(s)            of the named defendant(s):

___<h:_~_i_l_J_k_t_hlC,,_____ ~--~'-_g,.,~j~k ________ _

        Nature of defendant(s)         business: - - ~ ~ ~ - - - - - - -



        Approximate number of individuals employed by defendant:

_1=-::ct:3\--Cofo \ ~ ,r, o..   \.). ~ ✓H-'7   4"/- -_~oo O __ U.OC,5'16\-"""""
3.     This action is brought pursuant to Title VII            of the Civil

Rights Act of 1964          for   employment discrimination.        Jurisdiction

is specifically conferred on this court by 42               u.s.c.    §   2000e-5.

Equitable and other relief are also sought under               42    u.s.c.
§    20003-5   (g).


4.     The acts       complained of in this suit concern:

        (A)              Failure to employ me.

        (B)              Termination of my employment.

        (C)              Failure to promote me.

        ( D)             Other acts as specified below:

-------------------------------------------------------------                   •••   .-✓·--__/·




                                           2




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5.   Plaintiff is:

      (Al      /      presently employed by the defendant.

      (Bl             not presently employed by the defendant.

             The dates of employment were ______________________ •

             Employment was      terminated because:

             (1 l         plaintiff was discharged.

             ( 2)         plaintiff was       laid off.

             ( 3)         plaintiff left       job voluntarily.

6.   Defendant(s)      conduct is discriminatory with respect to the

following:    J
      (Al             my race.

      (Bl             my religion.

      ( C)            my sex.

      (D)    _____ my national origin.

      ( E) J          other as specified below:


      -· J?i~~~~-) ;4 -------------------------------------
7.   The name(s),      race,    sex,   and the position or title of the

individual(s)       who allegedly discriminated against me during the




                                          3




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8.
                                                             O(a ---J,o l ~
     The alleged discrimination occurred on or about _____________ /

· o cAo\o~ 9'o~\L ~ r1 -;),o - ~ o a i __________________ .
                          C) _



9.   The nature of my complaint,   i.e.,   the manner     in which the

individuals(s}   named above discriminated against me        in terms of




Commission regarding defendant(s)      alleged discriminatory conduct

                                           I   have   attached a   copy of

the Notice of Right to Sue letter issued by the Equal Employment

Opportunity Commission.    This letter was      received by me on _____ _




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12.    I   seek the following    relief:

       (A)     ✓     recovery of back pay;

       ( B)          reinstatement to my former        job;

       ( C)          trial   by jury on all   issues    so triable;

       and any other     relief as may be appropriate,        including

       injunctive orders,



      Date
                              •;}; -c~~•~~•,t:o;:::ii~\~
                                --~f--~ignat~-O'f Plaintiff

                                ----------------------------------------
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                                ______________   c~r19~
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                                -------------------------             --~,
                                                          ------------------o'br~
                                 Address and Phone Number of PlaintiCf




                                       5




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